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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION
ZACHARY MEDLOCK TUPI DIAMA
Plaintiff
Vv.

THE TRUSTEES OF INDIANA UNIVERSITY, 1:11 -v-0977 TWP -TAB

BENJAMIN MONAHAN-ESTES In His
Individual Capacity, CAITLIN CLARK In Her Individual Capacity,
CHRISTOPHER KING In His Individual Capacity,
HAROLD GOLDSMITH In His Official Capacity and
KAREN HANSON In Her Official Capacity,
Defendants.

VERIFIED COMPLAINT FOR INJUNCTION AND DAMAGES
Plaintiff, Zachary Medlock, being first duly sworn upon his oath, by counsel, alleges:

1. _— Plaintiff is an individual who resides Bloomington, Indiana. At all relevant times,
Plaintiff was enrolled as a full-time undergraduate student at Indiana University—Bloomington.
He resided in Room 1018-B, a single occupant dormitory room in Wilkie South residence center.

2. Defendant The Trustees of Indiana University is the governing body of Indiana
University, a state educational institution (“IU”).

3. Defendants Monahan-Estes, Clark, King, Goldsmith and Hanson are individuals
who, at all relevant times, were employees or agents of IU. Monahan-Estes and Clark were

resident advisors (RAs) at Wilkie. King was an IU police officer. Goldsmith was the Dean of

Students and Hanson was the Provost and Executive Vice President.
 

 

 

 

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4, On or about March 9, 2011, Monahan-Estes and Clark, acting in concert with one
or more Indiana University Police Department (IUPD) officers, including King, conducted a
warrantless search of Plaintiff's dorm room.

5. Monahan-Estes, Clark and King claim that they discovered marijuana and related
paraphernalia during their warrantless search of Plaintiff’s room. King placed Plaintiff under
arrest.

6. On or about March 11, 2011, the Monroe County Prosecutor’s office filed
criminal charges against Plaintiff based on evidence obtained during the warrantless search of
Plaintiff’ s room.

7. On that same date, Defendant Goldsmith dated a letter addressed to Plaintiff
stating that Plaintiff was being summarily suspended from IU effective immediately based on
evidence obtained during the warrantless search. Plaintiff submitted a timely written request for
hearing and a hearing commission panel was convened to consider Plaintiff's discipline.
Following a hearing on or about March 28, 2011, Plaintiff was suspended from TU for one year
effective March 12, 2011.

8. Plaintiff has exhausted his administrative remedies for challenging the
suspension. Specifically, following the decision of the hearing commission panel, Plaintiff timely
submitted a written appeal of the panel’s decision to Defendant Hanson. When no response from
Hanson was forthcoming, Plaintiff met with Defendant Hanson May 4, 2011 and requested
reconsideration of his suspension. Plaintiff’s counsel followed up with a letter to Defendant
Hanson dated May 6, 2011 and a certified letter dated May 27, 2011 requesting a decision

regarding Plaintiff's appeal.

 
 

 

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9. Defendant Hanson never gave Plaintiff notice that she was denying his appeal or
requests for relief. By virtue of Defendant Hanson’s failure to respond to Plaintiff’s written and
oral requests for relief from the suspension, on or about June 3, 2011 Plaintiff considered his
requests for relief from the suspension denied or futile.

10. This action is brought pursuant to 42 U.S.C. § 1983. This Court has jurisdiction
under 28 U.S.C. §§ 1331 and 1343.

COUNT I

FOURTH AMENDMENT

 

11. Plaintiff incorporates by reference his prior allegations as if fully set forth herein.

12. At all relevant times, Plaintiff’s dormitory room was his home and he had a
legitimate expectation of privacy therein.

13. Acting under color of state law, Monahan-Estes, Clark and King conducted a
warrantless search of Plaintiff’s room.

14. Monahan-Estes, Clark and King’s warrantless search of Plaintiff's room was

unreasonable and violated the Fourth Amendment to the United States Constitution.

COUNT II
PROCEDURAL DUE PROCESS
15. Plaintiff incorporates by reference his prior allegations as if fully set forth herein.
16. Based upon an express or implied contract with IU, Plaintiff was entitled to not be
suspended or otherwise disciplined without good cause. Plaintiff has a protected property interest

in his continued enrollment at IU.

 

 
 

 

 

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17. Due process requires that Defendants, The Trustees of Indiana University,
Goldsmith and Hanson, base their expulsion or suspension of students on substantial evidence.
Plaintiff was also entitled an opportunity to be heard at a meaningful time and in a meaningful
manner before being disciplined. Plaintiff was entitled to appeal his suspension. He was denied
this process.

18. Defendants’ suspension of Plaintiff deprived him of a protected property interest.
The suspension was based on inaccurate information and evidence obtained during an illegal
search of Plaintiff’s room. Plaintiff was summarily suspended, was not afforded a hearing until
after being summarily suspended, was not allowed to present evidence of mitigating factors or
argue for a lesser punishment. He was then denied an opportunity to appeal his suspension.
Therefore, Defendants, The Trustees of Indiana University, Goldsmith and Hanson’s decision to
suspend Plaintiff was not based on substantial evidence and violates Plaintiff's right to
procedural due process guaranteed by the Fourteenth Amendment to the United States
Constitution.

19. _—_ In addition to the harm to Plaintiff's reputation and the financial damages which
he has sustained as a direct and proximate result of the suspension, Defendants’ actions have
harmed and continue to harm Plaintiffs academic career and employment prospects. Plaintiff is

at risk for irreparable harm for which there is no adequate legal remedy.

RELIEF REQUESTED

Plaintiff respectfully requests the following relief:

1. Judgment in his favor and against Defendants;
 

 

 

 

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2. An award of monetary damages against Defendants Monahan-Estes, Clark and
King in an amount sufficient to compensate him for his losses;

3. A preliminary injunction (a) requiring Defendants, The Trustees of Indiana
University, Goldsmith and Hanson to reinstate Plaintiff to his status as a full-time student in
good standing at IU subject to compliance with its lawful policies and rules; (b) ordering the
removal of any and all grades assessed Plaintiff as a result of his suspension and converting them
to “incompletes” until such time as Plaintiff completes each course; and (c) ordering Defendants
to expunge Plaintiffs record of any reference to disciplinary action taken as a result of any
evidence illegally obtained from Plaintiff's room pending a final adjudication on the merits and
thereafter a permanent injunction;

4. Attorney fees pursuant to 42 U.S.C. § 1988;

5. Costs of this action; and

6. All other relief reasonable in the premises.

I AFFIRM UNDER PENALTY FOR PERJURY THAT THE FOREGOING

STATEMENTS ARE TRUE.

 
 

 

 

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